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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

va Case Number: 6:12-cr-261-Orl-28KRS

BRUCE LEE JENNINGS USM Number: 57403-018

David A. Howard, Esq.
10800 Biscyane Blivd., Ste. 560
Miami, FL 33161

 

JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts One and Two of the Indictment. Accordingly, the Court has adjudicated the
defendant guilty of the following offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Number
18 U.S.C. §§ 2252A(a)(2) Distribution of Child Pornography August 22, 2012 One
and (b)(1)
18 U.S.C. §§ 2252A(a)(5)(B) Possession of Child Pornography September 14, 2012 Two
and (b)(2)

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material
change in the defendant's economic circumstances.

Date of Imposition of Sentence;

May 30, 2018

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JOHN ANTOON II
UNITED STATES DISTRICT JUDGE

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3- rc
May 3, 2013

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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 121 months. This term consists of terms of 121 months on each of Counts One and Two, such terms to run

concurrently.

The Court recommends to the Bureau of Prisons that the defendant be placed at Coleman.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 10 years. This term
consists of a 10 year term as to each of Counts One and Two, such terms to run concurrently.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours
of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The mandatory drug testing requirements of the Violent Crime Control Act are waived. However, the Court
orders the defendant to submit to random drug testing not to exceed 104 tests per year.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the defendant
pays any such fine or restitution that remains unpaid at the commencement of the term of supervision in accordance with
the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The defendant shall also comply with the additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer in a manner and frequency directed by the court or probation
officer;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the

probation officer;
4. The defendant shall support his or her dependents and meet other family responsibilities;

5, The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or
employment;
fs The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or

administer any controlled substance or any paraphernalia related to any controlled substances, except as
prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
person convicted of a felony, unless granted permission to do so by the probation officer;

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10.

11.

12.

13.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall
permit confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by
a law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make
such notifications and to confirm the defendant's compliance with such notification requirement.

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

The defendant shall participate in a mental health program specializing in sex offender treatment and submit to
polygraph testing for treatment and monitoring purposes. The defendant shall follow the probation officer's
instructions regarding the implementation of this court directive. Further, the defendant shall contribute to the
costs of such treatment and/or polygraphs not to exceed an amount determined reasonable by the probation
office based on ability to pay or availability of third party payment and in conformance with the Probation Office’s
Sliding Scale for Treatment Services.

The defendant shall register with the state sexual offender registration agency(s) in any state where he resides,
visits, is employed, carries on a vocation, or is a student, as directed by the probation officer. The probation
officer will provide state officials with all information required under Florida sexual predator and sexual offender
notification and registration statutes (F.S.943.0435) and/or the Sex Offender Registration and Notification Act
(Title | of the Adam Walsh Child Protection and Safety Act of 2006, Public Law 109-248), and may direct the
defendant to report to these agencies personally for required additional processing, such as photographing,
fingerprinting, and DNA collection.

The defendant shall have no direct contact with minors (under the age of 18) without the written approval of the
probation officer and shall refrain from entering into any area where children frequently congregate, including:
schools, daycare centers, theme parks, playgrounds, etc.

The defendant is prohibited from possessing, subscribing to, or viewing, any video, magazine, or literature
depicting children in the nude and/or in sexually explicit positions.

The defendant shall not possess or use a computer with access to any online service at any location (including
employment) without written approval from the probation officer. This includes access through any Internet
service provider, bulletin board system, or any public or private computer network system. The defendant shall
permit routine inspection of his computer system, hard drives, and other medial storage materials, to confirm
adherence to this condition. This inspection shall be no more intrusive than is necessary to ensure compliance
with this condition. The defendant shall inform his employer or other third party who may be impacted by this
condition, of this computer-related restriction and the computer inspection provision of the condition.

The defendant shall submit to a search of his person, residence, place of business, any storage units under the
defendant's control, computer, or vehicle, conducted by the probation officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release. Failure to submit to a search may be grounds for revocation. The defendant shall inform any other
residents that the premises may be subject to a search pursuant to this condition.

The defendant, having been convicted of a qualifying felony, shall cooperate in the collection of DNA as directed
by the probation officer.

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8. The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or making

an obligation for any major purchases without approval of the probation officer. The defendant shall provide the
probation officer access to any requested financial information.

CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth in the Schedule of Payments.

Total Assessment Total Fine Total Restitution

$200.00 (waived) (n/a)

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
The Special Assessment in the amount of $200.00 is due in full and immediately.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United
States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

FORFEITURE

The defendant shall forfeit to the United States those assets previously identified in the Preliminary Order of Forfeiture
(Doc. No. 55) and the Stipulation for Settlement (Doc. No. 77) that are subject to forfeiture.

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full

before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.

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